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12                        UNITED STATES DISTRICT COURT
13                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                               WESTERN DIVISION
15   UNITED STATES OF AMERICA, )     Case No. 2:21-CV-01427
                               )
16             Plaintiff,      )     COMPLAINT FOR FORFEITURE
                               )
17                  v.         )     18 U.S.C. § 981(a)(1)(A) and (C) and
                               )     21 U.S.C. § 881(a)(6)
18   $178,000.00 IN U.S.       )
     CURRENCY,                 )     [DEA]
19                             )
               Defendant.      )
20                             )
21        Plaintiff United States of America brings this claim
22   against defendant $178,000.00 In U.S. Currency, and alleges as
23   follows:
24                            JURISDICTION AND VENUE
25        1.    Plaintiff United States of America brings this in rem
26   forfeiture action pursuant to 18 U.S.C. § 981(a)(1)(A) and (C)
27   and 21 U.S.C. § 881(a)(6).
28   / / /
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 1        2.    This Court has jurisdiction over the matter under 28
 2   U.S.C. §§ 1345 and 1355.
 3        3.    Venue lies in this district pursuant to 28 U.S.C.
 4   § 1395.
 5                             PERSONS AND ENTITIES
 6        4.    The plaintiff in this action is the United States of
 7   America.
 8        5.    The defendant in this action is $178,000.00 In U.S.
 9   Currency (the “defendant currency”) seized on or about August
10   26, 2020 and consisting of (i) $130,000.00 seized by law
11   enforcement officers while present at Cigar Aroma Shop, 200 East
12   Garvey Avenue, Suite 103 in Monterey Park, California;
13   (ii) $30,200.00 seized by law enforcement officers during the
14   execution of a State of California search warrant at JiaJia Wang
15   and/or Xiaomin Sun’s Montebello, California residence;1 and
16   (iii) $17,800.00 seized by law enforcement officers during the
17   execution of a State of California search warrant at Xiaomin
18   Sun’s Hacienda Heights, California residence.
19        6.    The defendant currency is currently in the custody of
20   the United States Marshals Service in this District, where it
21   will remain subject to this Court’s jurisdiction during the
22   pendency of this action.
23        7.    The interests of Xiaomin Sun and JiaJia Wang may be
24   adversely affected by these proceedings.
25   / / /
26   / / /
27
28        1 Pursuant to Local Rule 5.2-1, only the city and state of
     residence addresses are set forth in this Complaint.
                                     2
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 1                             BASIS FOR FORFEITURE
 2   Background Regarding The Illegality Of Engaging In Money
 3   Transmitting Without A License
 4        8.    18 U.S.C. § 1960 makes it a crime to knowingly
 5   conduct, control, manage, supervise, direct or own all or part
 6   of an unlicensed money transmitting business.         In addition, 18
 7   U.S.C. § 981(a)(1)(A) renders subject to forfeiture any property
 8   involved in a transaction or attempted transaction in violation
 9   of 18 U.S.C. § 1960, or any property traceable to such property.
10        9.    An unlicensed money transmitting business is defined
11   as one which affects interstate or foreign commerce in any
12   manner or degree and (a) is operated without an appropriate
13   license in a state, such as California, where such operation is
14   punishable under state law, whether or not the transmitter knew
15   that the operation was required to be licensed; (b) is not in
16   compliance with the money transmitting business registration
17   requirements under 31 U.S.C. § 5330 (which requires that money
18   transmitting businesses be registered with the Secretary of the
19   Treasury), or the regulations promulgated thereunder; or
20   (c) otherwise involves the transportation or transmission of
21   funds that are known by the transmitter to have been derived
22   from a criminal offense or are intended to be used to promote or
23   support unlawful activity.      Money transmitting is defined as
24   transferring funds on behalf of the public by any and all means
25   including, but not limited to transfers within the United States
26   or to locations abroad by wire, check, draft, facsimile or
27   courier.
28   / / /

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 1        10.    As set forth below, the defendant currency was
 2   transmitted or attempted to be transmitted on behalf of a third
 3   party by Xiaomin Sun and/or JiaJia Wang.         However, neither
 4   Xiaomin Sun nor JiaJia Wang during the time of the operative
 5   events set forth below were licensed by the State of California
 6   as an authorized money transmitting business or registered, nor
 7   were either of them authorized to function as a money
 8   transmitting business under federal law by the Secretary of the
 9   Treasury.
10        11.    Nevertheless, Xiaomin Sun and/or JiaJia Wang knowingly
11   conducted, controlled, managed, supervised, directed and owned
12   an unlicensed money transmitting business affecting interstate
13   and foreign commerce: (a) having failed to obtain an appropriate
14   money transmitting license under California Finance Code § 2030;
15   (b) having failed to comply with the money transmitting business
16   registration requirements under 31 U.S.C. § 5330, and the
17   regulations prescribed thereunder; and (c) having knowingly
18   transported or transmitted funds derived from a criminal offense
19   or which were intended to be used to promote or support unlawful
20   activity.
21   Background Of The Money Laundering Scheme
22        12.    Beginning in approximately February 2019, law
23   enforcement officers have investigated a Chinese money
24   laundering scheme, which involves the transmission of U.S.
25   currency derived from drug sales in the United States to bank
26   accounts in China controlled by Mexico or China based drug
27   trafficking/money laundering organizations.         After the transfer
28   to China bank accounts, the drug trafficking/money laundering

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 1   organizations often transfer the funds to Mexico in multiple
 2   ways, including paying Chinese export manufacturers from the
 3   China bank accounts for durable goods that are shipped to Mexico
 4   to the drug trafficking organizations’ clients.          By avoiding
 5   traditional banking channels for the transfer or physically
 6   transporting large sums of currency from one country to another,
 7   the drug trafficking/money laundering organization seek to avoid
 8   the financial institution and law enforcement scrutiny that
 9   would otherwise result from their activity and potentially
10   result in the seizure of their ill-gotten gains.
11        13.   One method of transporting drug proceeds from the
12   United States to China consisted of the following.          Persons
13   living in China (i.e., Chinese nationals) will purchase U.S.
14   Currency, which funds are narcotic proceeds that are collected
15   from drug purchasers and delivered in the United States to the
16   China-based purchaser.      Once the U.S. Currency is physically
17   delivered, the China-based U.S. Currency purchaser transfers an
18   approximately equivalent amount in Renminbi, which is also known
19   as “RMB” and is the official currency of the People’s Republic
20   of China, from the China-based purchaser’s bank account in China
21   to an account in China designated by the drug trafficking/money
22   laundering organization.      As a result, U.S. Currency is
23   converted to Chinese currency on deposit in bank accounts in
24   China, and the only bank transaction involves a transfer between
25   accounts in China, which would normally avoid scrutiny by the
26   Chinese government regarding the currency’s provenance.           The
27   scheme often involves drug trafficking/money laundering
28   organizations locating China-based persons to purchase U.S.

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 1   Currency (which is in actuality drug proceeds) by posting
 2   advertisements in Chinese language internet bulletin boards and
 3   WeChat forums.
 4   Xiaomin Sun and JiaJia Wang’s Communications With Undercover
 5   Police Officer
 6        14.    On August 17, 2020, law enforcement officers located
 7   at www.chinesinla.com an on-line advertisement for the sale of
 8   U.S. currency in exchange for Renminbi, which is the official
 9   currency of the People’s Republic of China and is also known as
10   “RMB.”     The online advertisement listed (626) 202-3322 as the
11   contact number and provided “I need RMB starting $50000 US.”
12        15.    On August 18, 2020, a law enforcement officer acting
13   in an undercover capacity and fluent in Mandarin Chinese (the
14   “UC”) began communicating in Chinese with another person, via
15   text messages sent to the above-referenced cellular telephone
16   number, and messaging sent using the WeChat app.          The individual
17   with whom the UC was communicating used the WeChat handle
18   “QQ254690030” and the (626) 202-3322 cellular telephone number.
19   QQ254690030 introduced the UC via WeChat to a person that
20   QQ254690030 stated used the WeChat handle “Miss_wangjiajia123.”
21        16.    Miss_wangjiajia123 then communicated with the UC, and
22   told the UC that Miss_wangjiajia123’s superior, an individual
23   Miss_wangjiajia123 identified as “Simon,” would be able to sell
24   bulk currency to the UC in exchange for intra-China bank
25   transfers.    In addition, Miss_wangjiajia123 told the UC that
26   Simon used the WeChat handle “voyagerusa” and cellular telephone
27   number (626) 228-8636.      As a result of database checks, law
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 1   enforcement officers determined that Miss_wangjiajia123 was
 2   JiaJia Wang and “Simon” was Xiaomin Sun.
 3        17.   Initially, the UC asked Miss_wangjiajia123 (i.e.,
 4   JiaJia Wang) for 380,000 RMB (which was approximately $55,000.00
 5   in U.S. currency) to be exchanged for U.S. currency, and
 6   Miss_wangjiajia123/JiaJia Wang stated that 380,000 RMB was not
 7   too much for Miss_wangjiajia123/JiaJia Wang to exchange.           In
 8   addition, Miss_wangjiajia123/JiaJia Wang stated that they
 9   (meaning JiaJia Wang and Xiaomin Sun) only conducted exchanges
10   for a minimum of $50,000.00 in cash.
11        18.   Ultimately, during the Miss_wangjiajia123/JiaJia Wang-
12   UC communications, Miss_wangjiajia123/JiaJia Wang agreed to
13   exchange $130,000.00 in U.S. Currency.        In addition,
14   Miss_wangjiajia123/JiaJia Wang agreed during these
15   communications to meet at approximately 4:00 p.m. in Monterey
16   Park, California, at which time JiaJia Wang and/or Xiaomin Sun
17   would provide the U.S. Currency to the UC and the parties would
18   conduct the U.S. currency-RMB exchange transaction.
19   Database, Records Checks And Other Analysis Identify Various
20   Businesses And Vehicles Owned by Xiaomin Sun or JiaJia Wang
21        19.   Based on database and records checks and review of a
22   corporation statement of interest, officers determined that
23   cellular telephone number (626) 228-8636 belonged to Xiaomin
24   Sun, Xiaomin Sun’s California driver license listed the Cigar
25   Aroma shop at 200 East Garvey Avenue # 103 as Xiaomin Sun’s
26   address and Xiaomin Sun owned a business called West Union
27   Travel located at a Montebello residence address (which is the
28   same residence address where officers seized $30,200.00 of the

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 1   defendant currency, as noted in paragraph 5 above).          In
 2   addition, officers learned from database checks of the
 3   Montebello residence that JiaJia Wang resided at that location
 4   (and the Miss_wangjiajia123 WeChat handle matched JiaJia Wang’s
 5   name).
 6        20.   Also, a records check of JiaJia Wang’s California
 7   driver license revealed to law enforcement officers that JiaJia
 8   Wang’s license listed the Cigar Aroma business as her primary
 9   residence and the West Union Travel Montebello residence address
10   as her secondary address.      Officers also determined that JiaJia
11   Wang had two vehicles registered to her name with the Montebello
12   residence address, consisting of a 2020 Lexus NX300 SUV and a
13   2020 Lexus sedan.
14   Officers Make Contact With Xiaomin Sun and JiaJia Wang On August
15   26, 2020
16        21.   The following events occurred on August 26, 2020.           At
17   approximately 1:00 p.m., officers saw both Lexus vehicles parked
18   in front of Cigar Aroma, and from and after 1:00 p.m. saw
19   Xiaomin Sun and JiaJia Wang coming to and going from the
20   business as though they worked there together.          At approximately
21   3:30 p.m., a confidential informant was in contact with Xiaomin
22   Sun and requested Xiaomin Sun to conduct a money transfer for
23   $50,000.00 one hour later (i.e., at 4:30 p.m.).          In response,
24   Xiaomin Sun agreed to conduct the $50,000.00 transfer, which led
25   officers to believe that Xiaomin Sun had more than the $130,000
26   in Xiaomin Sun’s possession (namely, approximately $180,000
27   [i.e., $130,000.00 + $50,000.00] and close to the amount of the
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 1   defendant $178,000.00 in U.S. Currency) that was to be used to
 2   conduct the $130,000 money transfer with the UC.
 3        22.   At approximately 3:45 p.m., the UC sent a text to
 4   Xiaomin Sun advising that the UC was at a Bank of America branch
 5   on South Atlantic Boulevard in Monterey Park.         In response,
 6   Xiaomin Sun requested the UC to come to Cigar Aroma at 200 E.
 7   Garvey Avenue # 103 to conduct the transaction.
 8        23.   Then, officers approached Cigar Aroma and saw JiaJia
 9   Wang exit the business and enter the 2020 Lexus NX300 SUV.
10   Officers pulled up behind the vehicle and contacted JiaJia Wong.
11   As officers were having JiaJia Wang exit her vehicle, officers
12   saw Xiaomin Sun standing at the front glass door to Cigar Aroma
13   about 15 feet away, and motioned and yelled at Xiaomin Sun to
14   step outside.    However, Xiaomin Sun disobeyed officers’
15   instruction, choosing instead to walk away and out of officers’
16   sight inside the suite.      When officers started to open the door
17   to the Cigar Aroma business, officers saw Xiaomin Sun emerge
18   from an office-style side room in the suite.
19        24.   Officers then spoke with Xiaomin Sun, who told
20   officers the following.      JiaJia Wang owned Cigar Aroma.       Xiaomin
21   Sun had previously had a sexual relationship with JiaJia Wang
22   and had resided with her at the Montebello residence, but
23   Xiaomin Sun had moved out in June 2020 and was currently living
24   in Hacienda Heights.     When officers asked Xiaomin Sun about
25   items Xiaomin Sun had at his Hacienda Heights residence, Xiaomin
26   Sun stated that he had two guns and about $100,000.00 in U.S.
27   currency at that location.      In addition, when officers asked
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 1    Xiaomin Sun how much money was at Cigar Aroma, Xiaomin Sun
 2    replied $130,000.00.
 3         25.    When officers then spoke with JiaJia Wang, she told
 4    officers the following.      JiaJia Wang owned Cigar Aroma.       Xiaomin
 5    Sun was JiaJia Wang’s ex-boyfriend, and Xiaomin Sun neither
 6    owned nor worked at Cigar Aroma and was just a friend who had
 7    come by JiaJia Wang’s business.       JiaJia Wang did not know why
 8    Xiaomin Sun had come by her business that day.          In addition,
 9    JiaJia Wang stated that that she had only $400.00 in the store
10    and did not know whether Xiaomin Sun had brought any money into
11    her business.
12    Officers’ Seizure of $130,000.00 And Loaded Firearm at Cigar
13    Aroma and Further Discussions with Xiaomin Sun and JiaJia Wang
14         26.    Officers searched Cigar Aroma and found on the floor
15    under the couch of the office-style side room from which Xiaomin
16    Sun had emerged after disobeying officers’ instructions to exit
17    the suite a firearm with six rounds in the magazine and none in
18    the chamber.    It is likely that Xiaomin Sun placed the firearm
19    under the couch after disobeying officers’ instructions in order
20    to hide the firearm from officers, and had intended to carry the
21    firearm for protection when conducting the $130,000.00 money
22    transfer with a person (i.e., the UC) who was a stranger to
23    Xiaomin Sun.
24         27.    In addition, officers found $130,000.00 (i.e., part of
25    the defendant currency) inside Cigar Aroma, including $50,000.00
26    situated in a Louis Vuitton bag, $50,000.00 in the top shelf of
27    a refrigerator and $30,000.00 hidden in a P.O. box at the
28    business.    Officers also found in the office-style side room on

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 1    a shelf a money counter, which is an indicator of drug
 2    trafficking as well as engaging in a money transfer business.
 3    The money counter was still on when officers found it, and was
 4    counting $100 dollar bills.      The majority of the $130,000.00
 5    found by officers was in $100 dollar bills.
 6         28.   Officers seized the $30,000.00 mentioned above last,
 7    after first seizing the $100,000.00 (i.e., the $50,000.00 in the
 8    Louis Vuitton bag and $50,000 in the refrigerator shelf).           After
 9    officers seized the $100,000.00, Xiaomin Sun stated that there
10    was no other currency at the business.        However, officers then
11    found the $30,000.00 in the P.O. box.        In addition, while
12    Xiaomin Sun had previously told officers that he had about
13    $100,000.00 at his Hacienda residence, Xiaomin Sun changed his
14    story and now told offices that he had only about $15,000.00 at
15    the residence.
16         29.   Also, officers found at Cigar Aroma Xiaomin Sun’s tax
17    return for his business West Union Auto Travel, Inc.           That tax
18    return reflected that the company’s 2019 gross receipts totaled
19    only $7,800.00, the company’s deductions totaled almost
20    $14,000.00, and the company therefore had a negative net income
21    of $6,152.00 for 2019.      Accordingly, Xiaomin Sun lacked
22    sufficient sources of legal income to support his acquisition
23    and possession of the seized funds.
24         30.   Officers then spoke with JiaJia Wang again, who stated
25    that she had only approximately $8,000.00 in cash at her
26    Montebello residence.     In addition, JiaJia Wang stated that she
27    had owned Cigar Aroma since December 2019, and the business
28    consisted of renting out P.O. boxes and selling various items

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 1    that came from China.     As set forth above, the 2020 Lexus NX300
 2    SUV and 2020 Lexus sedan were registered to JiaJia Wang.
 3    However, JiaJia Wang told officers that while the Lexus NX300
 4    SUV was hers, the 2020 Lexus sedan belonged to Xiaomin Sun.
 5    When officers searched the 2020 Lexus sedan, officers found in
 6    the glovebox another loaded magazine for Xiaomin Sun’s firearm
 7    that offices had found hidden underneath the couch.
 8           31.   Officers spoke with Xiaomin Sun again, who stated that
 9    he used JiaJia Wang’s business as a front to conduct money
10    transfers in order to give the impression that he had credible
11    access to U.S. currency to sell to customers and to avoid being
12    robbed.      In addition, Xiaomin Sun claimed that this was the
13    first time he had conducted a money transfer.         However, officers
14    found on Xiaomin Sun’s cellular telephone several pictures of
15    China-to-China bank transfer confirmations and other information
16    reflecting that Xiaomin Sun had conducted three or four money
17    transfers on August 25, 2020 (i.e., the preceding day) alone.
18    Officers Seize The Remaining $48,000.00 In Defendant Currency
19    From The Xiaomin Sun and JiaJia Wang Residences
20           32.   When officers executed a State of California search
21    warrant at JiaJia Wang’s Montebello, California residence
22    officers found $30,200.00 (i.e., part of the defendant currency)
23    inside a safe.      Officers also found in the safe information
24    pertaining to Xiaomin Sun, namely a Chinese passport and Social
25    Security card for him, and the funds were all in $100 dollar
26    bills, or the same denomination as the majority of the
27    $130,000.00 found at Cigar Aroma that Xiaomin Sun claimed was
28    his.    In addition, officers found an additional large sum of

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 1    currency at the residence but, unlike the $30,200.00, those
 2    funds were in mixed denominations (i.e., one, five, ten and
 3    twenty dollar bills), JiaJia Wang had receipts for the funds and
 4    JiaJia Wang claimed the currency was derived from selling items
 5    at her business Cigar Aroma.       Officers did not seize this
 6    currency.
 7         33.    Officers also executed a State of California search
 8    warrant at Xiaomin Sun’s Hacienda heights residence and found
 9    inside a wooden box in the office $17,800.00 in U.S. Currency
10    (i.e., the remainder of the defendant currency).          Also, Xiaomin
11    Sun admitted to officers, as discussed in paragraph 21 above,
12    that he had scheduled another $50,000.00 money transfer
13    transaction for the same day as the $130,000.00 transaction, and
14    Xiaomin Sun had another customer scheduled to come by to
15    purchase the $50,000.00 in U.S. currency.         However, when
16    officers asked Xiaomin Sun to identify this customer, Xiaomin
17    Sun declined to do so.
18         34.    Officers had a trained, state-certified narcotic
19    detection canine sniff the defendant currency, and the canine
20    alerted, which signifies that the funds had recently been in
21    close proximity with narcotics.       As of the time of the alert,
22    the canine had received over 400 hours of training during which
23    time the canine successfully found training aids that contained
24    actual narcotics.     The canine used to sniff the defendant
25    currency alerts to the scent of narcotics for which the canine
26    is trained.    In addition, the canine has also been trained with
27    general currency in circulation, in order to make sure that the
28    canine does not alert to the odor of currency but instead to the

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 1    presence of narcotics on currency.        On or about June 21, 2017,
 2    the canine and canine handler were certified for use as a team,
 3    and the canine has successfully passed the tests for the
 4    canine’s recertification.      As of the August 26, 2020 alert, the
 5    canine had been successfully used in multiple cases in which
 6    narcotics had been found, and was responsible in assisting in
 7    the seizure of over 800 pounds of narcotics and over $4.5
 8    million in narcotic proceeds.
 9                             FIRST CLAIM FOR RELIEF
10         35.   Plaintiff incorporates the allegations of paragraphs
11    1-34 above as though fully set forth herein.
12         36.   Based on the above, plaintiff alleges that the
13    defendant currency represents or is traceable to proceeds of
14    illegal narcotic trafficking, was intended to be used in one or
15    more exchanges for a controlled substance or listed chemical, or
16    was used or intended to be used to facilitate a controlled
17    substance or listed chemical violation, in violation of 21
18    U.S.C. § 841 et seq.     The defendant currency is therefore
19    subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6).
20                            SECOND CLAIM FOR RELIEF
21         37.   Plaintiff incorporates the allegations of paragraphs
22    1–34 above as though fully set forth herein.
23         38.   Based on the above, plaintiff alleges that the
24    defendant currency constitutes or is derived from proceeds
25    traceable to a controlled substance or listed chemical
26    violation, a specified unlawful activity as defined in 18 U.S.C.
27    §§ 1956(c)(7)(A) and 1961(1)(D).         The defendant currency is
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 1    therefore subject to forfeiture pursuant to 18 U.S.C.
 2    § 981(a)(1)(C).
 3                             THIRD CLAIM FOR RELIEF
 4         39.   Plaintiff incorporates the allegations of paragraphs
 5    1-34 above as though fully set forth herein.
 6         40.   Based on the above, plaintiff alleges that the
 7    defendant currency constitutes property involved in multiple
 8    transactions or attempted transactions in violation of 18 U.S.C.
 9    § 1956(a)(1)(A)(i) and (a)(1)(B)(i), or property traceable to
10    such property, with the specified unlawful activity being a
11    controlled substance or listed chemical violation.          The
12    defendant currency is therefore subject to forfeiture pursuant
13    to 18 U.S.C. § 981(a)(1)(A).
14                            FOURTH CLAIM FOR RELIEF
15         41.   Plaintiff incorporates the allegations of paragraphs
16    1-34 above as though fully set forth herein.
17         42.   Based on the above, plaintiff alleges that the
18    defendant currency constitutes property involved in multiple
19    transactions or attempted transactions in violation of 18 U.S.C.
20    § 1957(a), or property traceable to such property, with the
21    specified unlawful activity being a controlled substance or
22    listed chemical violation.      The defendant currency is therefore
23    subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).
24                             FIFTH CLAIM FOR RELIEF
25         43.   Plaintiff incorporates the allegations of paragraphs
26    1-34 above as though fully set forth herein.
27         44.   Based on the above, plaintiff alleges that the
28    defendant currency constitutes or is derived from proceeds

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 1    traceable to violations of 18 U.S.C. § 1960 (illegal money
 2    transmitting business), which is a specified unlawful activity
 3    as defined in 18 U.S.C. §§ 1956(c)(7)(A) and 1961(1)(B).           The
 4    defendant currency is therefore subject to forfeiture pursuant
 5    to 18 U.S.C. § 981(a)(1)(C).
 6                             SIXTH CLAIM FOR RELIEF
 7         44.   Plaintiff incorporates the allegations of paragraphs
 8    1-34 above as though fully set forth herein.
 9         45.   Based on the above, plaintiff alleges that the
10    defendant currency constitutes property involved in multiple
11    transactions or attempted transactions in violation of 18 U.S.C.
12    § 1956(a)(1)(A)(i) and (a)(1)(B)(i), or property traceable to
13    such property, with the specified unlawful activity being
14    violations of 18 U.S.C. § 1960 (illegal money transmitting
15    business).    The defendant currency is therefore subject to
16    forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).
17                            SEVENTH CLAIM FOR RELIEF
18         46.   Plaintiff incorporates the allegations of paragraphs
19    1-34 above as though fully set forth herein.
20         47.   Based on the above, plaintiff alleges that the
21    defendant currency constitutes property involved in multiple
22    transactions or attempted transactions in violation of 18 U.S.C.
23    § 1957(a), or property traceable to such property, with the
24    specified unlawful activity being violations of 18 U.S.C. § 1960
25    (illegal money transmitting business).        The defendant currency
26    is therefore subject to forfeiture pursuant to 18 U.S.C.
27    § 981(a)(1)(A).
28    / / /

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